                 Case 1:24-cv-00277-LM-TSM        Document 30        Filed 11/05/24      Page 1 of 1



                                UNITED STATES DISTRICT COURT ^ ® DISTRICT COURT
                                                                                  DISTRICT OF NEW HAMPSHIRE
                                  DISTRICT OF NEW HAMPSHIRE

                                                                                          NOV 05 202^
Bethany R. Scaer and Stephen Scaer
                                                                                             FILED
                     V.                                   Case # I:24-cv-00277-LM-TSM
City of Nashua, et ah
                                                           EXHIBITS
 OFFERED BY:
 Defendant       i



   NUMBER/L^TER                                                DESCRIPTION

             !(»)          City Hall Flagpole Policy dated October 7, 2024

             2             June 14. 2024. email from Nick Scalcra to Risk Management Dept, tilled; Flag Raising
                           Application

             3()<)         Special Event Application - City Hall Plaza - Request to fly Palestinian Flag dated June
                           14.2024

             4             Letter dated June 24, 2024 from Risk Management to Mr. Scalera      response to request to
                           lly Palestinian Flag: Denied




 USDCNH-25 (2-96)
